Case 1:15-cv-22269-JAL Document 1 Entered on FLSD Docket 06/16/2015 Page 1 of 7



                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO.:

 HUBERT GUSTAVE,

                 Plaintiff,
  vs.

  OCWEN LOAN SERVICING, LLC,

              Defendant.
 _______________________________/

                                          COMPLAINT

          COMES NOW, the Plaintiff, HUBERT GUSTAVE, by and through undersigned counsel,

 and brings this action against the Defendant, OCWEN LOAN SERVICING, LLC (“OCWEN”),

 and as grounds thereof would allege as follows:

                                        INTRODUCTION

        1.      This is an action brought by a consumer for Defendant's violation of the Real Estate

 Settlement Procedures Act, 12 U.S.C §§ 2601, et seq. (“RESPA”), and its implementing

 regulations.

        2.      The Consumer Financial Protection Bureau (“CFPB”) is the primary regulatory

 agency authorized by Congress to supervise and enforce compliance of RESPA. The CFPB

 periodically issues and amends mortgage servicing rules under Regulation X, 12 C.F.R. § 1024,

 RESPA’s implementing regulations.

        3.      Specifically, Plaintiff seeks the remedies as provided in RESPA for Defendant's

 failure to comply with Section 2605(k) of RESPA and Section 1024.41 of Regulation X.
Case 1:15-cv-22269-JAL Document 1 Entered on FLSD Docket 06/16/2015 Page 2 of 7



                                          JURISDICTION

      4.        Jurisdiction of this Court arises under 28 U.S.C. § 1331 because the Complaint

 alleges a federal claim and requires the resolution of substantial questions of federal law.

      5.        Moreover, this case is a civil action arising under the laws of the United States over

 which this Court has original jurisdiction under 28 U.S.C. § 1331.

      6.        Venue in this District is proper because Plaintiff resides in Miami-Dade County,

 Florida, and this is the District where a “substantial part of the events or omissions giving rise to

 the claim occurred.” 28 U.S.C. § 1391(b)(2).

                                              PARTIES

      7.        At all times material hereto, Defendant, OCWEN was and is a foreign limited

 liability corporation, incorporated under the laws of the State of Delaware; duly licensed to transact

 business in the State of Florida, and lists its registered agent as Corporation Service Company,

 1201 Hays Street, Tallahassee, FL 32301-2525.

      8.        At all times material hereto, Plaintiff was and is a resident of Miami-Dade County,

 Florida, and owns a home, which is Plaintiff's primary residence, in Miami-Dade County.

      9.        At some point in time prior to the violations alleged herein, OCWEN was hired to

 service the subject loan.

      10.       At all times material hereto, OCWEN, is and was a loan servicer as the term is

 defined in 12 U.S.C. § 2605(i)(2) and 12 C.F.R. § 1024.2(b), that services the loan obligation

 secured by a mortgage upon Plaintiff's primary residence and principal dwelling, located at ***

 NE 80th Street, Miami, Florida 33138.




 TL-9239                                                                                    v.1
Case 1:15-cv-22269-JAL Document 1 Entered on FLSD Docket 06/16/2015 Page 3 of 7



                        BACKGROUND AND GENERAL ALLEGATIONS

      11.      The mortgage loan in question is a “federally related mortgage loan” as defined in

 12 U.S.C. § 2602(1) and 12 C.F.R. § 1024.2(b).

      12.      On or about May 12, 2015, a final judgment of foreclosure was entered against

 Plaintiff in an action in circuit court, in and for Miami-Dade County, Florida, bearing Case No.

 2010-CA-39058, with respect to the property at issue.

      13.      A sale date of Plaintiff’s home was scheduled for August 11, 2015.

      14.      On May 26, 2015, Plaintiff retained Loan Lawyers, LLC (“Loan Lawyers”) to fight

 to save his home.

      15.      After much discussion, Plaintiff determined his best chances of saving his home

 would be through a loss mitigation program.

      16.      Therefore, on May 26, 2015, Loan Lawyers, on behalf of Plaintiff, submitted a loss

 mitigation package (“LMP”) to OCWEN via facsimile and also via email.

      17.      Pursuant to 12 C.F.R. § 1024.41(b)(2)(i)(B), OCWEN was required to provide a

 written notice within five (5) business days of receipt of the LMP acknowledging receipt of same

 and whether OCWEN determined said application to be complete or incomplete. If OCWEN

 deemed the LMP incomplete, OCWEN was required to state in the written notice the additional

 documents and information that must be submitted to make the LMP complete and a date within

 which to submit said documents and information.

      18.      Because of the upcoming sale date, Plaintiff became anxious about his LMP.

      19.      Nearly two weeks went by and OCWEN failed to provide a written

 acknowledgment on the LMP within the mandated timeframe, in violation of 12 C.F.R. §

 1024.41(b)(2)(i)(B).




 TL-9239                                                                              v.1
Case 1:15-cv-22269-JAL Document 1 Entered on FLSD Docket 06/16/2015 Page 4 of 7



      20.       As such, on June 8, 2015, Loan Lawyers mailed a letter to OCWEN’s counsel

 stating that Plaintiff deemed the LMP facially complete.

      21.       A true and correct copy of the letter is attached hereto as Exhibit “A”.

      22.       To date, neither Plaintiff nor Loan Lawyers have heard anything from OCWEN

 regarding the LMP.

      23.       To date, OCWEN has failed to or refused to comply with 12 C.F.R. §

 1024.41(b)(2)(i)(B), in that OCWEN did not written notice within five (5) business days of receipt

 of the LMP acknowledging receipt of same and whether OCWEN determined said application to

 be complete or incomplete.

                       COUNT I –VIOLATION OF 12 U.S.C. § 2605(k)

      24.       Plaintiff repeats, realleges and incorporates by reference paragraphs 1 through 23.

      25.       Section 6, Subsection (k) of RESPA states in relevant part:

                (k) Servicer prohibitions
                (1) In general
                A servicer of a federally related mortgage shall not--
                …
                (C) fail to take timely action to respond to a borrower’s requests to correct
                errors relating to allocation of payments, final balances for purposes of
                paying off the loan, or avoiding foreclosure, or other standard servicer’s
                duties;
                (E) fail to comply with any other obligation found by the [CFPB], by
                regulation, to be appropriate to carry out the consumer protection purposes
                of this chapter.

 12 U.S.C. § 2605(k)(emphasis added)

      26.       Sections 1024.41 of Regulation X was promulgated pursuant to Section 6 of

 RESPA and thus subject to RESPA’s private right of action. See 78 Fed. Reg. 10696, 10714, fn.

 64 (Feb. 14, 2013)(“The [CFPB] notes that regulations established pursuant to section 6 of RESPA




 TL-9239                                                                                   v.1
Case 1:15-cv-22269-JAL Document 1 Entered on FLSD Docket 06/16/2015 Page 5 of 7



 are subject to section 6(f) of RESPA, which provides borrowers a private right of action to enforce

 such regulations”). See also 78 Fed. Reg. at 10737, 10822 (“The Bureau relies on its authority

 under sections 6(j)(3), 6(k)(1)(C), 6(k)(1)(E) and 19(a) of RESPA to establish final rules setting

 forth obligations on servicers to comply with the loss mitigation procedures in § 1024.41”).

      27.       The CFPB’s authority to prescribe such regulations under Section 2605(k)(1)(E),

 is stated in Section 2617 of RESPA: “The [CFPB] is authorized to prescribe such rules and

 regulations, to make such interpretations, and to grant such reasonable exemptions for classes of

 transactions, as may be necessary to achieve the purposes of this chapter.” 12 U.S.C. § 2617.

      28.       OCWEN has failed to or refused to comply with 12 C.F.R. § 1024.41(b)(2)(i)(B),

 in that OCWEN did not provide a written notice within five (5) business days of receipt of the

 LMA acknowledging receipt of same and whether OCWEN determined said application to be

 complete or incomplete.

      29.       As such, OCWEN has violated 12 U.S.C. § 2605(k)(1)(E).

      30.       Plaintiff has hired Loan Lawyers, LLC, for legal representation in this action and

 has agreed to pay a reasonable attorney's fee.

      31.       Plaintiff is entitled to actual damages as a result of Defendant, OCWEN’s failure

 to comply with Regulation X and RESPA, pursuant to 12 U.S.C. § 2605(f)(1)(A), including but

 not limited to: emotional distress, anxiety, and shock as a result of OCWEN’s failure to comply

 with its statutory duties under 12 C.F.R. § 1024.41 in the midst of an impending foreclosure sale

 scheduled to take place on August 11, 2015; and reasonable attorney’s fees incurred as a result of

 having to correspond numerous times with OCWEN after OCWEN failed to comply with its

 statutory duties under 12 C.F.R. § 1024.41.




 TL-9239                                                                                 v.1
Case 1:15-cv-22269-JAL Document 1 Entered on FLSD Docket 06/16/2015 Page 6 of 7



       32.      Plaintiff is entitled to statutory damages in an amount not greater than $2000

 pursuant to 12 U.S.C. § 2605(f)(1)(B), as a result of OCWEN’s pattern or practice of

 noncompliance with Regulation X and RESPA.

       33.      OCWEN has also failed to comply with Regulation X with respect to loan numbers:

 ******8039, ******6259, and ******8093

       34.      Plaintiff is entitled to the costs of this action, together with a reasonable attorney's

 fee as determined by the court, pursuant to 12 U.S.C. § 2605(f)(3).

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, HUBERT GUSTAVE, respectfully asks this Court to enter an

 order granting judgment for the following:

    (a) That OCWEN be required to provide a written notice in compliance with 12 C.F.R. §

        1024.41(b)(2)(i)(B);

    (b) For actual damages, statutory damages, costs, and reasonable attorney’s fees, pursuant to

        12 U.S.C. § 2605(f); and

    (c) Such other relief to which this Honorable Court may deem just and proper.




 TL-9239                                                                                     v.1
Case 1:15-cv-22269-JAL Document 1 Entered on FLSD Docket 06/16/2015 Page 7 of 7



                              DEMAND FOR JURY TRIAL

       Plaintiff, HUBERT GUSTAVE, hereby demands a trial by jury of all issues so triable.




                                   Respectfully Submitted,

                                   /s/ Aaron Silvers
                                   Aaron Silvers, Esq.
                                   Florida Bar No.: 104811
                                   E-mail: asilvers@floridaloanlawyers.com
                                   Yechezkel Rodal, Esq.
                                   Florida Bar No.: 91210
                                   E-mail: chezky@floridaloanlawyers.com
                                   LOAN LAWYERS, LLC
                                   Attorneys for Plaintiff
                                   2150 S. Andrews Ave., 2nd Floor
                                   Fort Lauderdale, FL 33316
                                   Telephone:     (954) 523-4357
                                   Facsimile:     (954) 581-2786




 TL-9239                                                                           v.1
